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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                Civil Action No.

     Plaintiff,                                    2:16-cv-00128-LGW-BWC

v.                                                 JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                  CONSOLIDATED PROPOSED PRETRIAL ORDER

1.     Counsel are to discuss and agree on every possible factual stipulation. The
stipulations must be reduced to writing, signed and filed with the consolidated
proposed pretrial order as ATTACHMENT “A” hereto. Stipulations can spare
witness testimony, trial time, and expense. If a party feels the other side is in
bad faith refusing to stipulate, they shall set forth “proposed stipulations” on
ATTACHMENT “A.” Costs of proving what, at trial, was never really
disputed and what should have been stipulated, may be taxed against the
offending party and attorney. Those costs may include witness fees and
additional attorney preparation time costs.




2.     As ATTACHMENT “B” to the proposed pretrial order, the parties may, but
are not required to, submit questions which they desire the Court to propound to
jurors concerning their legal qualifications to serve and any other questions they
wish propounded for information purposes. If the parties choose to submit general
voir dire questions hereunder, they may submit the questions jointly as one
attachment or separately as ATTACHMENTS “B-1” and “B-2”.



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3.     State the names of all parties, firms and attorneys to be used in qualifying
the jury. State the name of any insurance company involved, and whether it is a
stock or mutual company. State the names of all counsel who are members of any
firm involved on a contingent fee basis. At the pretrial conference, counsel may be
required to disclose policy limits and details of any insurance coverage.

      For Plaintiff:     Adeash “AJ” Lakraj
                         Barrett & Farahany (contingent fee basis)

                         Amanda Farahany
                         Barrett & Farahany (contingent fee basis)

                         Robert Castleberry
                         Plaintiff



      For Defendant:     Charles A. Dorminy
                         Hall Booth Smith, P.C.

                         William S. Mann
                         Hall Booth Smith. P.C.

                         Camden County, Georgia
                         Defendant

                         Western World Insurance Company


4.    Identify the basis upon which the jurisdiction of this Court is based and any
questions relating to its jurisdiction.


   • Plaintiff invokes the jurisdiction of this court pursuant to 42 U.S.C. §
     12101 et seq., 28 U.S.C. §§ 1331 and 1343, and 42 U.S.C. § 12117. In
     addition, the Defendant has been properly served with process in this
     matter, such that personal jurisdiction exists.

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   • This Court is an appropriate venue for all Plaintiff’s claims under 28
     U.S.C. § 1391(b), because all of the parties reside within the Southern
     District of Georgia, and all or a substantial majority of the events giving
     rise to Plaintiff’s claims occurred in this judicial district.

   • The Defendant has no question relating to this Court’s jurisdiction.


5.   List any motions or other matters in the case which remain unresolved. Any
motion not so enumerated shall be deemed withdrawn by the moving party.

      Plaintiff intends to file appropriate Motions in Limine or other motions
as necessary prior to trial.

      Defendant may file motions in limine or other motions as necessary
prior to trial. Defendant also wishes to compel the production of documents
and physical evidence from First Coast News. In accordance with the Rule 26
Instruction Order, the parties are required to seek a conference with the
Court prior to filing a Motion to Compel. (Doc. 4 at 5–6.) Defendant requested
such a conferral in the Status Report filed on October 2, 2017. (Doc. 24 at 1.)
Defendant subpoenaed all interview footage of Plaintiff’s television interview
with First Coast News shortly after Plaintiff’s deposition. Although First
Coast News produced a publicly-available news article, and a link to the
publicly-available interview that aired, it did not produce the uncut footage
from the interview despite the subpoena specifically requesting that footage.
First Coast News objected to producing the uncut video footage under a First
Amendment argument. The Defendant stands ready to file its Motion as the
First Amendment does not protect the release of this evidence.


6.    All discovery is to be completed pursuant to the Local Rules. The date of the
conclusion of the discovery process and the expected completion of any
untranscribed deposition shall be stated.

     Discovery was completed on 9/15/2017. However, as noted above,
Defendant continues to seek all footage of Plaintiff’s interview with First
Coast News.

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7.    State whether the names of the parties in the above-captioned case(s) are
complete and correct and whether there is any question of misjoinder or non-
joinder.

      The names of the parties are complete and correct. There is no question
of misjoinder or non-joinder.


8.    Outline of Plaintiff’s case.

         On January 27, 2015, Plaintiff Robert Castleberry (“Plaintiff” or “Mr.
Castleberry”) provided his employer, Defendant Camden County (“Defendant” or
“the County”), documentation from two different psychologists – one hand-picked
by the County – diagnosing him with Autism Spectrum Disorder (“Autism”). He
was seeking accommodations for this disability. Both psychologists stated that it
would be “beneficial” if Mr. Castleberry were allowed to work from home,
although neither the psychologists nor Mr. Castleberry claimed this was the only
way to accommodate his disability. Previously, Mr. Castleberry had provided the
County with a list of 13 other proposed accommodations. He was also taking
previously-approved intermittent FMLA leave – 30 minutes per week – for
treatment of his condition. The next day, January 28, Mr. Castleberry emailed
Katie Howard (“Ms. Howard”), the County’s HR Director, and requested to “begin
again the interactive process of discussing accommodation and setting parameters
of those accommodations.” In this email, Mr. Castleberry also complained of
various actions by the County that he stated were retaliation in violation of the
Americans with Disabilities Act (“ADA”).
         The County fired him the next day. In an email notifying Mr. Castleberry of
the termination, Ms. Howard stated that the County could not accommodate his
“need” to work from home (even though neither Mr. Castleberry nor the
psychologists ever said he “needed” to work from home). Ms. Howard then stated
the County could not accommodate his disability and he was, therefore, “release[d]
. . . from employment.” In so saying, Ms. Howard and the County did not address
the list of possible accommodations Mr. Castleberry had previously provided.

9.    Outline of Defendant’s case.


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       Robert Castleberry was hired as a 4-H Program Associate in June 2013. In
that position, Castleberry provided support to the 4-H Program Director, Amber
Bishop, and provided oversight for the Georgia 4-H Youth Development Program
in Camden County. An essential function of this job, as stated in the written job
description provided to Castleberry, is communication and interaction Ms. Bishop,
and with coworkers, staff, students, and the public.
       Throughout his employment as a 4-H Program Associate, Castleberry had
personality conflicts with his female coworkers—mainly his supervisor, Amber
Bishop. Because of his sensitivity to sound, Castleberry wore earplugs at work. He
also requested to move offices twice and was permitted to do so. When Castleberry
becomes overwhelmed or stressed, he allegedly shuts down and chooses not to
communicate verbally. Admittedly, the only time Castleberry “shut down” in his
18 months working as a 4-H Program Associate was twice when he was criticized
by Ms. Bishop.
       Because of his conflicts with Ms. Bishop, Castleberry applied for FMLA
leave on December 31, 2014. The therapist charted that he had attention-
deficit/hyperactivity disorder and inattentive social anxiety disorder. The County
granted Castleberry FMLA leave for 30 minutes each week to seek therapy for this
condition.
       On January 9, 2015, Castleberry requested to have his office moved for the
third time—this time to the storage room. He also requested to wear noise-
cancelling headphones while at work and to have advanced notice of “coaching
sessions” and meetings. Katie Howard, the HR Director, told Castleberry that he
needed to meet with a psychologist because the County needed additional
information from a medical practitioner to better understand the limitations and
accommodations necessary for Castleberry’s working environment. Castleberry
was put on paid administrative leave on January 13, 2015 while the County tried to
obtain all the information necessary to determine how it could best accommodate
his needs. Mr. Castleberry saw psychologist, Laurie Fairall on January 15, 2015,
and January 22, 2015, to be evaluated for Asperger’s. The psychologist told
Castleberry he had symptoms consistent with Autism Spectrum Disorder. The
County then requested Castleberry be evaluated by Dr. Ellinor Burke.
       Dr. Burke stated that it was her opinion that Castleberry “struggles with
interpersonal relationships at work.” She stated that “Mr. Castleberry has requested
some accommodations in the workplace. He would like to work in a more isolated
setting or from home. This would be beneficial in dealing both with his sensitivity
to noise and his social anxiety related to Asberger’s.”

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      The County terminated Castleberry’s employment on January 29, 2015
because the accommodations requested, working in a more isolated setting or from
home, would not enable Castleberry to perform the essential functions of his job.


10. In all cases in which violation of the United States Constitution or a federal
or state statute or regulation is alleged, the party making such claim shall
specifically state the constitutional provision and/or statute allegedly violated and
the specific facts on which such alleged violation is based. The party shall detail
the damage or relief sought pursuant to such claim and recite supporting authority.


Statue(s) Violated:

   • Americans with Disabilities Act, as amended by the Americans with
     Disabilities Amendments Act of 2008 ("ADA"). 42 U.S.C. § 12101, et
     seq.
   • Family and Medical Leave Act ("FMLA"). 29 U.S.C. § 2601, et seq.

Damage(s) Sought:

   • A declaratory judgment that Defendant has engaged in unlawful
     employment practices in violation of the ADA and the FMLA. 28
     U.S.C. § 2201;
   • Injunctive relief of reinstatement, or front pay in lieu thereof, and
     prohibiting Defendant Camden County from further unlawful conduct
     of the type described herein. 42 U.S.C. § 12117 and 29 U.S.C. § 2617;
   • General damages for mental and emotional suffering caused by
     Defendant’s misconduct. 42 U.S.C. § 12117;
   • Punitive damages based on Defendant’s willful, malicious, intentional,
     and deliberate acts, including ratification, condonation and approval of
     said acts. 42 U.S.C. § 12117;
   • Special damages and/or liquidated damages for lost wages and benefits
     and prejudgment interest thereon. 42 U.S.C. § 12117 and 29 U.S.C. §
     2617;



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   • Reasonable attorney's fees and expenses of litigation with any and all
     other costs associated with this action as provided by the FMLA and
     ADA. 42 U.S.C. § 12117 and 29 U.S.C. § 2617;
   • Prejudgment interest at the rate allowed by law. 28 U.S.C. § 1961; and
   • All other relief to which he may be entitled. 42 U.S.C. § 12117 and 29
     U.S.C. § 2617.

     Defendant contends that it did not violate state or federal law by
terminating Plaintiff’s employment. Thus, Plaintiff is not entitled to recover
damages.

11. In tort cases, any party bearing a burden of proof shall list each and every act
of negligence or intentional tort relied upon.

      (a)      Under a separate heading, state all relevant statutes, rules, regulations
               and ordinances allegedly violated. Also, recite any supporting
               authority.

            Not applicable


      (b) List all items of damages claimed or non-monetary relief sought.

            Not applicable


        (c) In all cases involving alleged permanent injuries or death, furnish a
full statement as to the age, alleged life expectancy and/or probable duration of the
injuries, and earnings, income tax records or other records to prove earnings.

            Not applicable.


12. In contract cases or any other action not addressed in paragraphs 10 or 11,
any party having a burden of proof shall outline the particular alleged breach of
contract or the basis of any other cause of action, enumerate any applicable statute


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involved, and detail the damages or relief sought and recite appropriate supporting
authority.

             Not applicable.


13. If there is any dispute as to agency, state the contentions of the parties with
respect to agency.

             Not applicable.


14. State who has the burden of proof (including any affirmative defenses or
special issues) and who has the opening and closing arguments to the jury.

Plaintiff bears the burden of proof as to his claims under the ADA and the
FMLA. Defendant bears the burden of proof as to any affirmative defenses –
including the defense of undue hardship to a Failure to Accommodate claim.
In either case, the burden is “preponderance of the evidence.”

Both parties are entitled to pre-trial opening statements and post-trial closing
arguments. Plaintiff has the right to make the first closing argument to the
jury and reserves a limited amount of time, to be discussed at the pretrial
conference, after Defendant’s rebuttal closing argument for a final closing
statement.

15. Under this paragraph, both plaintiff(s) and defendant(s) should separately
list the witnesses whom each will have present at the trial and those whom each
may have present at the trial. Witnesses intended to be used solely for
impeachment shall be listed; however, if a party has a genuine reason for not
listing and disclosing an impeachment witness, such party may address the Court
ex parte and seek a ruling as to whether disclosure may be properly withheld. A
representation that a party will have a witness present may be relied on by the
opposing party unless notice to the contrary is given in sufficient time prior to trial
to allow the opposing party to subpoena the witness or obtain his testimony. If a
witness is not listed when the proposed pretrial order is filed, the Court will not
allow the addition of a witness by any party, EXCEPT for providential or other
good cause shown to the Court by application for amendment to this Order.
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 NOTE: COUNSEL MUST SUBMIT TO THE COURTROOM
 DEPUTY CLERK THREE COPIES OF THE TYPED WITNESS LIST
 AT THE PRETRIAL CONFERENCE.




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         The following is a list of the fact witnesses that Plaintiff will have present at

trial:

 Witness                           Address
 Robert Castleberry
 Amber Bishop
 Katherine Howard
 Tina Dasha
 Allison Fender, MA, LAPC          Lighthorse

 Dr. Laurie Fairall




         The following is a list of the fact witnesses that Plaintiff may have present at

trial:


 Witness                           Address
 Louis Foltzer
 Joann Lindsey Milam
 John Meyers
 Jessica ________
 Ellinor Burke, Ph. D.             Cumberland Health Services




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      Plaintiff reserves the right to amend his witness list prior to Trial.
Witnesses that Plaintiff does not reasonably anticipate calling for rebuttal or
impeachment purposes are not included on this list. In addition, Plaintiff
respectfully reserves the right to call at trial any witnesses listed by any other
party.




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        The following is a list of the fact witnesses that Defendant will have present

at trial:

 Witness                         Address
 Amber Bishop




        The following is a list of the fact witnesses that Defendant may have present

at trial:


 Witness                         Address


 Katie Howard
 Kathy Baldwin
 Tina Dasha
 Louis Foltzer
 Joann Milam
 Laurie Fairall, Psy.D.
 Lynn Roth, LPC

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Ellinor Burke, Ph.D.
Nina Leonard, APRN
Tanya Markham
Allison Fender, LPC
Medical records custodian
from Lighthorse
Healthcare, Inc.
Medical records custodian
from Cumberland Health
Services, Inc.
Shelby Danielsen
Records custodian for First
Coast News

      Defendant reserves the right to amend this list prior to trial. Defendant
reserves the right to call at trial any witness listed by Plaintiff.

      Plaintiff objects to Defendant calling Tanya Markham and Nina
Leonard as witnesses because they were not identified during the discovery
period.




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16. All documents and physical evidence that may be tendered at the trial shall
be exhibited to and initialed by opposing parties prior to the pretrial conference.
All evidence shall be marked by the parties prior to the pretrial conference, and the
parties are encouraged to submit a joint exhibit list on a form supplied by the
Clerk. If separate exhibit lists are submitted, they shall be submitted on the forms
supplied. Duplications of exhibits should be avoided to the extent practicable.
Exhibit lists should be submitted to the Court at the pretrial conference. The
material therein shall be identified as follows:

      (a)    A list of documents and physical evidence submitted as joint exhibits.

      (c) Where separate lists are being submitted, a list of documents and
physical evidence to be introduced by the plaintiff(s). Copies of such exhibits shall
be provided to counsel for each other party.

Objections and reasons therefor shall be stated in writing and be filed five (5) days
prior to the time of the pretrial conference. Items not objected to will be admitted
when tendered at trial.

       (d) Where separate lists are being submitted, a list of documents and
physical evidence to be introduced by the defendant(s). Copies of such exhibits
shall be provided to counsel for each other party.

Objections and reasons therefor shall be stated in writing and be filed five (5) days
prior to the time of the pretrial conference. Items not objected to will be admitted
when tendered at trial.

       (d) Any document or other physical evidence listed by any party and not
objected to, or to which objections have been overruled, may be received in
evidence on offer by any other party, in the event the listing party does not actually
offer it into evidence.

       (e) The foregoing shall not be deemed or construed to expand or limit the
rules relating to the admissibility of evidence generally.

      NOTE: COUNSEL MUST SUBMIT TO THE COURTROOM
      DEPUTY CLERK THREE COPIES OF THE TYPED WITNESS LIST
      AT THE PRETRIAL CONFERENCE. All exhibits shall be cross-
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        initialed by the attorneys for the parties and properly tagged as
        required by the Local Rules of this District. This cross-initialing
        procedure shall be completed when counsel meet to confer on the
        preparation of the pretrial order.

Bates - Begin
        Begin      Trial Exhibit   Date              Description
                   Number
DefNoBate063017.   1               ??/??/????        Handwritten notes
DefNoBate062217    2               ??/??/????        Handwritten notes re "E-Mail Joann"
DefNoBate063017.   3               ??/??/????        Typed letter/notes re Robert Castleberry's
                                                     job satisfaction
DefNoBate062217    4               ??/??/????        Handwritten notes re "Robert Castleberry"
DefNoBate063017.   5               ??/??/????        Handwritten notes
DefNoBate062217    6               ??/??/????        Handwritten notes re "Meeting with Joann
                                                     and Kathy"
DefNoBate062217    7               ??/??/????        Handwritten notes re "Written Warning"
CASTLEBERRY00686   8               ??/??/????        Timeline of events
DefNoBate062217    9               Sat 03/01/2014    Social media post by Robert Castleberry
DefNoBate062217    10              Sat 03/08/2014    Social media post by Robert Castleberry
DefNoBate062217    11              Sat 05/03/2014    Social media post by Robert Castleberry
CASTLEBERRY00630   12              ??/??/2005        Camden County Personnel Policy
DefNoBate053017.   13              ??/??/2010        Camden County FMLA Policy
DefNoBate053017.   14              ??/??/2010        Camden County Sexual and Other Unlawful
                                                     Harassment policy
DefNoBate053017.   15              ??/??/2010        Camden County Disability Accommodation
                                                     policy
DefNoBate053017.   16              ??/??/2010        Camden County Chain of Command
                                                     Grievance policy
DefNoBate053017.   17              Fri 06/01/2012    Job Description for 4-H Program Associate
DefNoBate063017.   18              ??/??/2013        Notes re Program Associate candidates
DefNoBate063017.   19              ??/??/2013        Castleberry online resume, submitted cover
                                                     letter and resume
DefNoBate063017.   20              ??/??/2013        Castleberry certification documents
DefNoBate062217    21              05/??/2013        Questions for references for Program
                                                     Associate position
DefNoBate063017.   22              Mon 05/20/2013    Notes from interview with Robert
                                                     Castleberry
DefNoBate053017.   23              06/??/2013        Castleberry personnel file
DefNoBate062217    24              Mon 11/18/2013    Castleberry Performance Review
CASTLEBERRY00712   25              Tue 12/31/2013    Castleberry 2013 tax documents
DefNoBate053017.   26              Fri 03/14/2014    Typed notes from meeting with Robert
                                                     Castleberry


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DefNoBate053017.   27      Wed 05/07/2014   email re Office Picture
                           9:39 a.m. ET
CASTLEBERRY00605 28        Fri 06/27/2014   email re: Camden County Office Complaint
                           8:51 p.m. ET
DefNoBate053017.   29      Sun 06/29/2014   Typed notes re Castleberry
DefNoBate053017.   30      Thu 11/13/2014   email re Accomplishments for Nov. 12th
                           8:43 a.m. ET     Office Meeting
DefNoBate053017.   31      Mon 11/17/2014   email re time off
                           1:41 p.m. ET
DefNoBate053017.   32      Mon 11/24/2014   Typed notes from meeting with Castleberry
DefNoBate063017.   33      12/??/2014       Excerpt of Transcription of audio file entitled
                                            "Amber Meeting Dec 18 - Accommodation"
CASTLEBERRY00682 34        Tue 12/30/2014   Letter from Lighthorse Healthcare, Inc. with
                                            proposed accommodations
CASTLEBERRY00669 35        Wed 12/31/2014   Designation Notice (FMLA) & Certification of
                                            Health Care Provider
CASTLEBERRY00731 36        Wed 12/31/2014   Castleberry 2014 tax documents
CASTLEBERRY00609 37        Wed 12/31/2014   Email re: FMLA Paperwork Approval
                           3:14 p.m. ET
DefNoBate053017.   38      Wed 12/31/2014   email re FMLA
                           3:16 p.m. ET
CASTLEBERRY00769 39        ??/??/2015       Castleberry's mitigation efforts
                 40        01/??/2015       evaluation of Castleberry
CASTLEBERRY00674 41        01/??/2015       Castleberry 4-H Staff Midyear Evaluation
DefNoBate053017. 42        01/??/2015       Typed notes re "background of the issues
                                            with Robert Castleberry"
DefNoBate053017.   43      Wed 01/07/2015   email re Meeting this afternoon
                           2:52 p.m. ET
DefNoBate053017.   44      Wed 01/07/2015   email re Meeting this afternoon
                           2:55 p.m. ET
DefNoBate053017.   45      Wed 01/07/2015   email re Leaving Early
                           3:08 p.m. ET
CASTLEBERRY00742 46        Thu 01/08/2015   Castleberry paycheck from Camden County
                                            BOC
DefNoBate053017.   47      Thu 01/08/2015   email re Meeting this afternoon
                           11:40 a.m. ET
CASTLEBERRY00628 48        Thu 01/08/2015   email re: Meeting Questions
                           1:29 p.m. ET
DefNoBate053017.   49      Thu 01/08/2015   email re Meeting Questions
                           3:02 p.m. ET
DefNoBate053017.   50      Tue 01/20/2015   email re Accommodation Request
                           11:57 a.m. ET
CASTLEBERRY00683 51        Mon 01/26/2015   Lighthorse Healthcare, Inc. diagnosis/request
                                            for accommodation

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CASTLEBERRY00684 52               Tue 01/27/2015    Psychological Evaluation by Cumberland
                                                    Health Services, Inc. diagnosing Asberger's
                                                    Disorder
DefNoBate053017.    53            Tue 01/27/2015    email re Documentation (re: Lighthorse)
                                  4:16 p.m. ET
DefNoBate053017.    54            Wed 01/28/2015    email re Interactive Process / Return to Work
                                  11:13 a.m. ET
DefNoBate053017.    55            Wed 01/28/2015    email re Update
                                  2:58 p.m. ET
DefNoBate053017.    56            Thu 01/29/2015    email re Communication
                                  9:03 a.m. ET
DefNoBate053017.    57            Thu 01/29/2015    email re Communication
                                  11:17 a.m. ET
CASTLEBERRY00629 58               Thu 01/29/2015    email from Katie Howard re: Accommodation
                                  3:39 p.m. ET      Request
DefNoBate053017.    59            Thu 01/29/2015    email re Accommodation Request
                                  3:53 p.m. ET
DefNoBate053017.    60            Thu 01/29/2015    email re ADA/EEOC Violations
                                  4:28 p.m. ET
CASTLEBERRY00001 61               02/??/2015        Castleberry EEOC Complaint
CASTLEBERRY00010 62               Wed 02/11/2015    Castleberry EEOC Intake Questionnaire
CASTLEBERRY00743 63               Thu 12/31/2015    Castleberry 2015 tax documents
                 64               ??/??/2016        Castleberry mitigation income
CASTLEBERRY00932 65               Mon 05/23/2016    Post on Camden County Help Wanted
                                                    Facebook page
CASTLEBERRY00038 66               09/??/2016        Castleberry EEOC File
CASTLEBERRY00933 67               01/??/2017        Castleberry's mitigation efforts
                 68                                 Amber Bishop’s floor plan

                           DEFENDANT’S EXHIBIT LIST

                         DOCUMENT                                  BATES/PAGE NO'S.

Sexual and other unlawful Harassment Policy                                 7 pgs.
Chain of command grievance policy                                            1 pg.
Disability Accommodation Policy                                              1 pg.
FMLA Policy                                                                 9 pgs.
Castleberry’s Personnel File                                               50 pgs.
Castleberry’s Written Job Description                                       4 pgs.


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Castleberry’s Reprimand & Disciplinary Actions                   47 pgs.
E-mail between Castleberry & Katie Howard                        11 pgs.
E-mail between Castleberry & Amber Bishop                        16 pgs.

County Extension Personnel Contract/Memorandum of
Understanding between The Board of Regents of the University
System of Georgia on behalf of The University of Georgia          3 pgs.
Cooperative Extension and the Camden County Board of
Commissioners, dated February 11, 2013.

Documents of Reprimands for Castleberry                          20 pgs.
Performance Reviews and line of reporting                        11 pgs.
Assignment Selection Form                                         1 pg.
Program Assistant Certification documents                        22 pgs.
Photographs attached as exhibits at Castleberry’s deposition
Interview notes                                                   2 pgs.
Meeting notes                                                     1 pg.
Amber Bishop’s notes                                             14 pgs.
Documents pertaining to Castleberry’s interview                  17 pgs.
Transcription of an audio file entitled “Amber meeting
                                                                 12 pgs.
December 18 – Accommodations.”
Castleberry’s employment records from Covenant Village of
                                                                 58 pgs.
Colorado
Castleberry’s employment records from Lang’s Marina Seafood
                                                                 128 pgs.
Restaurant
Castleberry’s employment records from Traeger Pellet Grills      30 pgs
Castleberry’s employment records from YMCA of Florida’s
                                                                 35 pgs.
First Coast
News article from First Coast News                                2 pgs.
Video of Castleberry’s interview with First Coast News
Uncut video of Castleberry’s interview with First Coast News
Castleberry’s medical records from Lighthorse Healthcare, Inc.   110 pgs.
Castleberry’s medical records from Cumberland Health              2 pgs.

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Services, Inc.


      Plaintiff objects to Defendant’s employment record exhibits and the
First Coast News exhibits because they were not produced during the
discovery period.

17. List all witnesses whose testimony by deposition will or may be offered by
each party and the specific deposition pages and lines to be offered. All objections
by opposing parties to any portions of the deposition(s) shall be set forth with
specific reference to the portion of the testimony objected to and the basis therefor.

      Neither Plaintiff nor Defendant anticipate providing testimony by
deposition. However, the Parties reserve the right to offer any testimony of a
witness unavailable by law, including the medical providers listed.

      (a) Prior to trial, counsel shall confer to eliminate all extraneous,
redundant, and unnecessary matter, lapses, and colloquy between counsel in the
deposition excerpts. Counsel shall also attempt to resolve all objections to
deposition testimony to be offered.

        (b) The parties shall, if practicable, conform deposition exhibit numbers
in trial questions and testimony to the numbers of trial exhibits.


18. Each party shall separately provide a memorandum of authorities as to any
questions of law likely to arise at the trial, including the merits of plaintiff(s)’
claim, defenses asserted, matters of evidence, etc.

Plaintiff

   A. VIOLATION OF THE ADAAA – FAILURE TO ACCOMMODATE

The ADA provides: "No covered entity shall discriminate against a qualified
individual on the basis of disability in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job
training, and other terms, conditions, and privileges of employment." 42 U.S.C. §
12112(a).

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To establish a prima facie case of discrimination under the ADA, the Plaintiff
must prove three elements: "that, at the time of the adverse employment action,
[he] had a disability, [he] was a qualified individual,1 and [he] was subjected to
unlawful discrimination because of [his] disability." United States Equal
Employment Opportunity Comm' n v. St. Joseph's Hosp., Inc., 842 F. 3d 1333,
1343 (11th Cir. 2016).

As part of the third element, the law requires (“employer must”) the employer to
reasonably accommodate an otherwise qualified individual; failing to due so is
evidence of “unlawful discrimination.” See Nadler v. Harvey, No. 06-12692, 2007
U.S. App. LEXIS 20272, at *28 (11th Cir. 2007); Lucas v. W.W. Grainer, Inc, 257
F.3d 1249, 1255 (11th Cir. 2001); Hilburn v. Murata Elecs. N. Am., Inc., 181 F.3d
1220, 1226 (11th Cir. 1999); Holbrook v. City of Alpharetta, 112 F.3d 1522, 1526
(11th Cir. 1997). “An accommodation is reasonable, and thus required under the
ADA, only if it allows the employee to perform the essential functions of the job.”
Earl v. Mervyns, Inc., 207 F.3d 1361, 1365 (11th Cir. 2000). “Whether an
accommodation is reasonable depends on specific circumstances.” Terrell v.
USAir, 132 F.3d 621, 626 (11th Cir. 1998).

As such, for this case, the Defendant has the burden to show that the
accommodations suggested by Plaintiff were either (1) provided to him, or (2) not
reasonable because the Plaintiff was still unable to perform essential functions of
his job or that the accommodation “transformed” the essential function of his
position.

1
   For this element, a "qualified individual" is one who "with or without reasonable
accommodation, can perform the essential functions of the employment position that such
individual holds." 42 U.S.C. § 12111 (8). "Accordingly, an ADA plaintiff must show either that
he can perform the essential functions of his job without accommodation, or, failing that, . . . that
he can perform the essential functions of his job with a reasonable accommodation." Holly v.
Clairson Indus., L.L.C., 492 F.3d 1247, 1256 (11th Cir. 2007) (citation omitted). "If the
individual is unable to perform an essential function of his job, even with an accommodation, he
is, by definition, not a ‘qualified individual’ and, therefore, not covered under the ADA. In other
words, the ADA does not require the employer to eliminate an essential function of the plaintiff's
job." Id. (citation omitted). The essential functions "are the fundamental job duties of a position
that an individual with a disability is actually required to perform." Id.; see also 29 C.F.R. §
1630.2 (n) (2) (i) (stating that a "function may be essential because the reason the position exists
is to perform that function").
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A corollary to the “reasonable accommodation” requirement is the employer's
obligation to engage in an “interactive process” with the disabled employee to
determine whether and which reasonable accommodations are feasible. Crutcher
v. Mobile Hous. Bd., No. 04-0499-WS-M, 2005 U.S. Dist. LEXIS 35402, at *47-
49 (S.D. Ala. Oct. 20, 2005); see also EEOC v. Sears, Roebuck & Co., 417 F.3d
789, 797 (7th Cir. 2005) (“the ADA requires that employer and employee engage
in an interactive process to determine a reasonable accommodation”). Simply put,
once an employer becomes aware of the need for a reasonable accommodation, it
“must make a reasonable effort to determine the appropriate accommodation. The
appropriate accommodation is best determined through a flexible, interactive
process that involves both the employer and the [employee] with a disability.” 29
C.F.R. pt. 1630, App § 1630.9 at 359. “Underlying the interactive process is the
duty of the parties to act in good faith while searching for appropriate reasonable
accommodation.” O'Dell v. Department of Public Welfare of Pennsylvania, 346 F.
Supp.2d 774, 785 (W.D. Pa. 2004); see also Calero-Cerezo v. United States DOJ,
355 F.3d 6, 24 (1st Cir. 2004) (“An employer's refusal to participate in the process
may itself constitute evidence of a violation of the statute.”); Carroll v. England,
321 F. Supp.2d 58, 69 (D.D.C. 2004) (“when the duty to reasonably accommodate
arises; both employee and employer must exchange essential information and
neither side can delay or obstruct the process”).

A plaintiff alleging that his employer did not participate in the interactive process
“must demonstrate: 1) the employer knew about the employee’s disability; 2) the
employee requested accommodations or assistance for his or her disability; 3) the
employer did not make a good faith effort to assist the employee in seeking
accommodations; and 4) the employee could have been reasonably accommodated
but for the employer’s lack of good faith.” Taylor v. Phoenixville Sch. Dist., 184
F.3d 296, 319-20 (3d Cir. 1999).


   B. VIOLATION OF THE ADAAA – RETALIATION

ADA also provides that "no person shall discriminate against any individual
because such individual has opposed any act or practice made unlawful by [the
ADA] or because such individual made a charge, testified, assisted, or participated
in any manner in an investigation, proceeding, or hearing under [the ADA]." 42
U.S.C. § 12203 (a).

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At trial, the Plaintiff is first tasked to establish a prima facie case of retaliation
under the ADA. Plaintiff must establish that he (1) engaged in statutorily protected
activity,2 (2) suffered an adverse employment action, and (3) that a causal
connection exists between the two. Batson v. Salvation Army, 897 F.3d 1320, 1329
(11th Cir. 2018).

If Plaintiff establishes these three elements, then "the burden shifts to the
[Defendant] to articulate a nondiscriminatory reason for the adverse action." Id.

If Defendant does this, then the burden shifts back to Plaintiff, who must show
that Defendant's proffered reason was pretextual. Id. The Plaintiff satisfies this
burden "by presenting evidence sufficient to permit a reasonable factfinder to
conclude that the reasons given by the employer were not the real reasons for the
adverse employment decision.” Id. (internal quotation marks and citation omitted).
Plaintiff may do this by showing "such weaknesses, implausibilities,
inconsistencies, incoherencies, or contradictions in the employer's proffered
legitimate reasons that a reasonable factfinder could find them unworthy of
credence." Holton v. First Coast Serv. Options, Inc., 703 F. App'x 917, 923 (11th
Cir. 2017). "Although a plaintiff can use temporal proximity to show a defendant's
proffered reason for termination was pretextual, temporal proximity alone does not
establish pretext." Jackson v. Hennessy Auto, 190 F. App'x 765, 768 (11th Cir.
2006).

    C. VIOLATION OF                  THE        FMLA         –    INTERFERECE               AND
       RETALIATION


Under the FMLA, an eligible employee is entitled to up to twelve weeks of leave
each year because of a serious health condition. See 29 U.S.C. § 2612(a)(1). “To
preserve the availability of these rights, and to enforce them, the FMLA creates
two types of claims: interference claims, in which an employee asserts that his
employer denied or otherwise interfered with his substantive rights under the Act,

2
  For this element, “it is sufficient that an employee have a good faith, objectively reasonable
belief that his activity is protected by the statute." Standard v. A.B.E.L. Servs., Inc., 161 F. 3d
1318, 1328 (11th Cir. 1998). A request for reasonable accommodation also constitutes protected
activity if the employee has a good faith, objectively reasonable belief that he is entitled to the
requested accommodation under the ADA. Id.
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see 29 U.S.C. § 2615(a)(1), and retaliation claims, in which an employee asserts
that his employer discriminated against him because he engaged in activity
protected by the Act, see 29 U.S.C. § 2615(a)(1) & (2); 29 C.F.R. § 825.220(c).'"
Wascura v. City of S. Miami, 257 F.3d 1238, 1247-48 (11th Cir. 2001) (quoting
Strickland v. Water Works and Sewer Bd., 239 F.3d 1199, 1206 (11th Cir. 2001)).


INTERFERENCE: "In order to state an interference claim under the FMLA, the
Plaintiff need only demonstrate by a preponderance of the evidence that he was
entitled to a benefit the employer denied." Jarvela v. Crete Carrier Corp., 776 F.3d
822, 831 (11th Cir. 2015) (citation omitted). For an FMLA interference claim, the
employer's motives are irrelevant. Martin v. Brevard Cty. Pub. Schs., 543 F. 3d
1261, 1266-67 (11th Cir. 2008). Importantly, "an employee can be dismissed,
preventing her from exercising her right to commence FMLA leave, without
thereby violating the FMLA, if the employee would have been dismissed
regardless of any request for FMLA leave." Krutzig v. Pulte Home Corp., 602 F.3d
1231, 1236 (11th Cir. 2010).

RETALIATION: To establish a prima facie case of retaliation under the FMLA,
an employee must show that, "(1) he engaged in statutorily protected activity, (2)
he suffered an adverse employment decision, and (3) the decision was causally
related to the protected activity." Jarvela, 776 F.3d at 832 (11th Cir. 2015). Once
this burden is met, Defendant can show that the Plaintiff would have been
terminated regardless of his FMLA leave. See Batson v. Salvation Army, 897 F.3d
1320, 1331-21 (11th Cir. 2018). Plaintiff can then turn again to showing that this
reason was pretextual. Id.

Even though the analyses for these two claims "merge at the summary judgment
stage, at trial, it remains the employer's burden to establish its affirmative defense
by showing that it did not interfere with its employee's substantive rights under the
FMLA by terminating the employee." Batson, 897 F.3d at 1236 n.6.

Defendant

Defendant objects to Plaintiff’s recitation of the law as being binding on this
Court or read to the jury. Defendant requests the opportunity to brief any
issue outlined by the Plaintiff should the same be used at trial.

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   I. Burden shifting

       “Under the controlling law in this Circuit, ‘[t]he burden-shifting
analysis of Title VII employment discrimination claims is applicable to ADA
claims.’” Holly v. Clairson Industries, LLC, 492 F.3d 1247, 1255 (11th Cir.
2007) (quoting Earl v. Mevyns, 207 F.3d 1361, 1365 (11th Cir. 2000) (per
curiam)). To establish a prima facie case of discrimination under the
Americans with Disabilities Act, a plaintiff must show: “(1) he is disabled; (2)
he is a qualified individual; and (3) he was subjected to unlawful
discrimination because of his disability.” Id. (citation omitted). Once a prima
facie case is established, the employer bears the burden of articulating a
legitimate, nondiscriminatory reason for the challenged employment decision,
which the employee must then demonstrate to be a pretext designed to mask
discrimination/retaliation. Id. (citations omitted); see McDonnell Douglas
Corp. v. Green, 411 U.S. 792, 802–04 (1973).

   II. Definition of “disability” under the ADA.

       “Disability” means “a physical or mental impairment that substantially
limits one or more major life activities of such individual; a record of such an
impairment; or being regarded as having such an impairment[.]” 42 U.S.C. §
12102(1)(A)–(C).

   III.   A non-physician cannot opine about medical diagnoses in Georgia.

       Georgia law considers opinions about medical diagnoses to fall outside
the limits of the expertise of a non-physician. See O.C.G.A. § 43-34-21(3) (“[t]o
practice medicine” means, among other things, “to hold oneself out to the
public as being engaged in the diagnosis ... of disease, defects, or injuries of
human beings”); Hunnicutt v. Hunnicutt, 237 Ga. 497, 228 S.E.2d 881 (1976)
(diagnosis and potential continuance of disease or other medical condition are
“medical questions to be established by physicians as expert witnesses”).
Castleberry has not been diagnosed by a medical doctor with ASD or any
other disability.

   IV.    Interactive Process


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       An employer cannot be held liable merely for failing to engage in the
interactive process itself, regardless of whether a reasonable accommodation
could in reality have been made for the employee. See Willis v. Conopco, Inc.,
108 F.3d 282, 285 (11th Cir. 1997); Spears v. Creel, 607 F. App’x 943, 950
(11th Cir. 2015) (per curiam). The employee bears the responsibility of
initiating the interactive process by providing notice of his disability and
requesting accommodation for it. Taylor v. Phoenixville Sch. Dist., 184 F.3d
296, 313 (3d Cir. 1999). Although the employee’s request need not be written,
nor “formally invoke the “magic words ‘reasonable accommodation,’ the
notice nonetheless must make clear that the employee wants assistance for his
or her disability.” Taylor, 184 F.3d at 313. The employer, in other words, must
know of both the disability and the employee’s desire for accommodations for
that disability. Id. Employers are not required to “assume employees are
disabled and need accommodations.” Id.

19. Plaintiff’s counsel estimates 2 (days) (hours) to present plaintiff’s case;
defendant’s counsel estimates 1 day to present the defense.

20.     Plaintiff __X_ has ___ has not offered to settle.
        Defendant _X__ has ___ has not offered to settle.

        It appears at this time that there is
        ___ A good possibility of settlement.
             Some possibility of settlement.
        _X No possibility of settlement.

       The parties ___do __X_ do not wish to confer with the Court regarding
settlement.


21. State any other matters which should be covered by pretrial order, including
rulings desired of the Court prior to trial.

        Not Applicable


22. State whether or not the issues of liability and damages should be tried
separately (bifurcated) and give any other suggestion toward shortening the trial.
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Where bifurcation is opposed by any party, such party shall state the reasons for
such opposition.


Plaintiff’s Response:

Plaintiff requests that the issues of liability and damages be tried within the
same trial and opposes bifurcation.

First, Plaintiff’s evidence regarding damages is not expected to be extensive –
some testimony regarding the effect of Defendant’s illegal actions on his life
and presumably undisputed testimony and documents regarding the amount
of his compensation with when working for Defendant. Therefore, including
evidence regarding damages is not likely to significantly impact the length of
the trial. Second, Plaintiff anticipates that his damages evidence will be at
least partially intertwined with evidence of his disability. Therefore, a
separate trial on damages would be duplicative.

Defendant’s Response:

Defendant requests that any evidence in support of punitive damages and
attorney’s fees be bifurcated.

23. In cases where either party requests bifurcation of issues or a special verdict,
submit a copy of the proposed verdict as PLAINTIFF’S ATTACHMENT “C”
and/or DEFENDANT’S ATTACHMENT “C” hereto. Lead counsel are to discuss
and agree on such special verdict where possible. Where agreement is not reached,
state the basis for any objections to the special verdict request.



24. In non-jury cases, the parties shall each file their proposed findings of fact,
summary of depositions, and conclusions of law not later than one week prior to
the assigned trial date.

      Not Applicable


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25. The final proposed pretrial order shall be signed by counsel for each party
and shall contain a final paragraph, as follows:

      IT IS HEREBY ORDERED that the foregoing constitutes a PRETRIAL
      ORDER in the above case(s), that it supersedes the pleadings which are
      hereby amended to conform hereto and that this PRETRIAL ORDER
      shall not be amended except by ORDER OF THE COURT.




IT IS SO ORDERED this ______ day of ______________________, 2019.




                                        ____________________________________
                                        UNITED STATES DISTRICT JUDGE




Each of the undersigned counsel for the parties hereby consents to entry of the

foregoing pretrial order, which has been prepared in accordance with the form

pretrial order adopted by this court.




Counsel for Plaintiff                             Counsel for Defendant

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                               ATTACHMENT A

                        PROPOSED STIPULATIONS

1) The Camden County 4-H Extension Office provides services to youths ages 9–19,
   including hands-on learning programs, summer camps, classroom presentations, and
   community service activities.

2) Plaintiff Robert Castleberry (“Plaintiff” or “Mr. Castleberry”) began working for
   Defendant Camden County (“Defendant” or “the County”) as a 4-H Program Associate in
   the 4-H Office in June 2013.

3) As a 4-H Program Associate, Castleberry provided support to Amber Bishop and
   oversight for the Georgia 4-H Youth Development Program in Camden County.

4) Camden County provided Castleberry a written position description outlining the
   essential duties and responsibilities of the 4-H Program Associate position.

5) Defendant Camden County is a covered employer under the FMLA.

6) Defendant Camden County employed more than 50 employees within a 75-mile radius of
   Plaintiff’s worksite.

7) There is no dispute that Mr. Castleberry worked for more than 12 months for the county,
   including for more than 1,250 hours in the 12-month period immediately preceding his
   requested intermittent FMLA leave.

8) Amber Bishop was Mr. Castleberry’s supervisor.

9) Castleberry wore earplugs while at work.

10) Castleberry requested Bishop to move his office to reduce the noise level he experienced
    from an adjacent coworker’s office.

11) When Castleberry is overwhelmed and overstressed, he sometimes “shuts down.”

12) The only times Castleberry “shut down” in his 18 months working as a 4-H Program
    Associate was approximately twice.

13) On December 18, 2014, Castleberry met with Bishop to discuss his request to be moved.




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14) Castleberry applied for intermittent FMLA leave on December 31, 2014 after a therapise
    noted that he had attention-deficit/hyperactivity disorder and inattentive social anxiety
    disorder.

15) Mr. Castleberry provided his FMLA paperwork to the County on December 31, 2014,
    and HR official Tina Dasha returned it to him with the County’s approval of his FMLA
    leave that same day.

16) The County approved Mr. Castleberry taking intermittent FMLA leave (30 minutes each
    week) to seek treatment.

17) On January 8, 2015, Mr. Castleberry forwarded his counselor Allison Fender’s December
    30, 2014 letter to HR official Tina Dasha notifying the County that he had been
    diagnosed with Inattentive Type Social Anxiety Disorder and that he needed
    accommodations therefor. The County acknowledged receipt of this letter.

18) On January 8 or 9, 2015, Castleberry testified that he again requested to be moved and
    requested to wear noise-cancelling headphones while at work.

19) Castleberry also requested “advanced notice of coaching sessions” because Bishop called
    him into her office “for a surprise meeting” to discuss “a whole lot of things, a lot of
    complaints and criticisms against me.”

20) Bishop emailed Castleberry a list of topics she wanted to discuss with him after her
    meeting with Dasha.

21) On January 12, 2015, Howard emailed Castleberry telling him that Ellinor Burke, Ph.D.,
    a psychologist, could meet with Castleberry.

22) Mr. Castleberry was placed on administrative leave on January 13, 2015.

23) Katherine Howard, Defendant’s Director of Human Resources, told Mr. Castleberry that
    the December 30 letter from his counselor was not sufficient and instructed him to see a
    psychologist she had selected, Dr. Ellinor Burke, to assist with a diagnosis and with
    possible accommodations.

24) On January 15, 2015, Castleberry underwent a psychological assessment by Laurie
    Fairall, a psychologist.

25) Dr. Burke provided faxed her psychological evaluation of Mr. Castleberry to the County
    on January 27, 2015.

26) Ms. Howard, Defendant’s HR Director, admits receiving the January 27, 2015
    psychological evaluation from Dr. Burke.

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27) Ms. Howard admits she did not engage in any interactive process with Plaintiff in
    response to this January 28, 2015 email.

28) Mr. Castleberry was Terminated from his position on January 29, 2015.

29) Mr. Castleberry was not terminated due to performance issues.

30) Ms. Howard and Ms. Bishop were also among the team that made the decision to
    terminate Mr. Castleberry’s employment.




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                                ATTACHMENT B-1

      PLAINTIFF’S PROPOSED GENERAL VOIR DIRE QUESTIONS

        I.    BIOGRAPHICAL

1.      Please state your full name.

2.      Where do you live? How long have you lived there? With whom do you

live?

3.      What is your date of birth?

4.      What is your marital status?

5.      What is your spouse’s name? Children’s names and ages?

6.      What is your occupation?

7.      What is your spouse’s occupation?

8.      What is your highest level of education?

9.      What is your spouse’s highest level of education?

10.     Have you or a family member ever sued anyone? If so, please provide

details.

11.     Have you of a family member ever been sued? If so, please provide details.

12.     Are you involved in any civic or volunteer organizations? If so, please tell us

about them.




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13.     Are you now of have you ever been a member of a labor union? If so, which

union?

14.     Do you have any current or prior employment history in the following:

        a.    Office work, for example secretarial, data entry, and or human

resources;

        b.    Law or the legal field;

        c.    Management;

        d.    Government standards or regulation

15.     How would you describe yourself:

        a.    Very conservative;

        b.    Conservative;

        c.    Moderate;

        d.    Liberal;

        e.    Very Liberal;

        f.    Other;

16.      If you had a disability and your employer refused to accommodate you,

would you file a lawsuit?

17.     From where do you get your information about lawyers?




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18.     Have you or a family member ever thought you had good reason to sue, but

decided against it? If so, please explain.

19.     Is there anything in your background or experience that could make you find

for or against a company just because you would not want to hurt the company?



        II.   DESCRIPTION OF THE CLAIM

20.     There are federal laws known as the Americans with Disabilities Act and the

Family Medical Leave Act. The American with Disabilities Act protects

individuals with disabilities in the work place. Among the protections provided by

the Americans with Disabilities Act is a requirement that an employer provide

reasonable accommodations to an employee’s disability if such accommodation

does not constitute an undue hardship. The Family Medical Leave Act entitles

eligible employees to take unpaid protected leave for specified family and medical

reasons. In this case, Plaintiff Robert Castleberry contends Defendant Camden

County was on notice of Plaintiff’s disability and failed to accommodate his.

Plaintiff further contends that Defendant illegally terminated his employment

because of his disability and because he complained of disability discrimination.

Finally, Plaintiff contends Defendant interfered with his right to exercise FMLA

leave or because he sought to exercise his right to such leave and, as a result, that

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Defendant has violated federal law. Defendant disagrees with these contentions

and will take the position that it did not violate the law in any respect.

23.     Does anyone feel that, under any circumstances, filing a lawsuit against

Defendant Camden County is wrong? Does anyone feel that they would have

trouble judging the facts of this case or being fair and impartial? If the facts show

that Plaintiff is a victim of Defendant’s alleged discrimination and interference of

his federal rights, would you have any trouble compensating him for his losses?

24.     Is there anyone on the panel who feels Defendant should not be held

accountable if the facts show that the County broke the law by not accommodating

Plaintiff’s disability or by interfering with his right to exercise his FMLA leave?

        III.   LEGAL SYSTEM

25.     Has anyone on the panel, or any member of your family or close friend, ever

filed a lawsuit or been sued?

26.     Has any member of the panel heard from any source that some people may

abuse the legal system from time to time? What are your feelings about that?

Would that affect the way you approach this case in any way?

27.     Does anyone believe that people turn to courts too quickly to solve

problems?

28.     If yes, please tell us what you have heard in this regard.

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29.     Does any member of the panel believe that the civil justice system should be

changed to limit the ability of employees to bring claims for disability

discrimination and interference with FMLA leave?

30.     Does any member of the panel belong to any organization which favors

changing the law in order to limit a victim’s rights to recover?

31.     Is there any member of the panel who would start this trial with even the

slightest negative feelings about the Plaintiff and his case, for any reason at all?

        IV.   SPECIFIC JUROR EXPERIENCE/EXPERTISE

32.     Do you, or any member of your family or any close friend have or had a

disability and needed an accommodation? How were you (or that family

member/friend) accommodated?

33.     Has any employer of yours ever failed to accommodate a disability for you

or any of the people you worked with?

34.     Have you heard of Autism Spectrum Disorder (“Autism”)? What is your

understanding of Autism and the effects it has on those who suffer from it? From

where did you get that understanding?

35.     If a party or witness to this case has been diagnosed with Autism, would that

negatively impact your feelings about that party or witness in any way?




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36.     Have you, or any member of your family or any close friend needed to take

FMLA leave? Were you (or that family member/friend) allowed to take that leave

under the FMLA?

37. Have you, or any member of your family or any close friend been terminated

for taking FMLA leave?

38.     Have you, any member of your family, or close friend ever filed a lawsuit

against a government agency? What was the nature of the lawsuit?

39.     Some people have taken the position that lawmakers have gone too far in

making laws that regulate the treatment of employees. Does anyone agree with that

position?

40.     Have you or someone close to you ever filed a grievance or made a

complaint against someone or about something at work? What did it involve?

What was the outcome?

41.     Have you, a family member, or a close friend been in a situation where the

boss did not tell the truth?

42.     Has anyone sat on a jury before? What kind of case? Did the jury reach a

verdict? What was the verdict?

        V.    DAMAGES




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43.     This is a civil case in which Plaintiff claims that Defendant failed to

accommodate his disability, terminated him because of his disability and

complaints of disability discrimination, and interfered with his right to protected

medical leave. Plaintiff seeks compensation pursuant to federal law for this loss.

Will any member of the panel have difficulty awarding him full and fair

compensation in the event that you find that the evidence introduced at trial

supports such an award?

44.     Does any member of the panel have personal feelings, religious beliefs or

other convictions which would interfere with your ability to award full and fair

compensation to Plaintiff in the event that you find the evidence supports an award

of money damages?

45.     Does anyone believe that the amount of a verdict should not be above a

certain set amount, even if the evidence supports a larger award?

        VII. BURDEN OF PROOF

46.     This is a civil case, not a criminal case. In a civil case each side may present

claims or defenses to claims. In a civil case, a party need only prove his/her case

by a fair preponderance of the believable evidence. What this means is that if the

scales tip ever so slightly in favor of that party, under the law your verdict must be

for that party. This is very different from a criminal case, in which the prosecution

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must prove the case beyond a reasonable doubt. Does any member of the panel

have any difficulty with this concept, or with being able to follow the Court’s

instructions regarding the burden of proof that parties must bear in civil cases?

      Plaintiffs reserve the right to amend or modify this Attachment B-1 up

to five days before trial.

      Defendant objects to portions of Plaintiff’s voir dire.




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DEFENDANT’S PROPOSED GENERAL VOIR DIRE QUESTIONS

  1. Where do you live? How long have you lived there? With whom do you

     live?

  2. What is your marital status?

  3. How Many children do you have?

  4. What is your occupation?

  5. How long have you been employed there?

  6. What is your spouse’s occupation?

  7. Have you or a family member ever sued anyone? For what?

  8. Have you of a family member ever been sued? For what?

  9. What civic or volunteer organizations are you involved?

  10.Are you now of have you ever been a member of a labor union? If so, which

     union?

  11.Have you ever had a disability?

  12.Have you ever requested disability accommodations from your employer?

  13.This case involves a man with social anxiety problems. There will be

     testimony about the difficulties he has in socializing and dealing with

     criticism from a female superior in the workplace. There will be descriptions




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   of his difficulties and they will undoubtedly make you feel sorry for him. He

   claims he was discriminated against.

14.Does anyone feel that they will feel sorry for the Plaintiff because of his

   issues?

15.Will you be able to put aside your personal feelings and decide the case on

   its merits?

16.Have any of you ever had issues with your superiors due to that superior

   being the opposite sex?

17.Do you feel different being criticized by a member of the opposite sex than

   being criticized by a member of your same sex?

18.Do you believe communication between co-workers within the workplace to

   be important to the overall goal of the employer?

19.Do you believe co-workers working together within an office setting creates

   a better office atmosphere?

20.Do you believe working as a team toward a goal is more beneficial than

   working alone?

21.Does anyone have anxiety about communicating verbally with your co-

   workers?

22. Do you ever feel stressed in the workplace?

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23.Have you ever felt fearful for your job?

24.Have you ever experienced anxiety in the workplace?

25.Do you believe communication by email is as effective as talking to

   someone face-to-face?

26.Have you ever sent an email to someone that was misinterpreted?

27.If you needed to communicate something important to someone, would you

   choose to do it verbally face-to-face or through email?

28.How many of you have ever been reprimanded at work?

29.How many of you have ever had an advocate present whenever you received

   criticism from your employer?

30.How many of you would rather work from home than in an office setting?

31.Do you believe you would be more productive working from home than

   working in an office?

32.Have you ever had a co-worker you did not get along with?

33.Have you ever had a co-worker than made annoying sounds?

34.How many of you have requested to work from home due to issues you have

   had with a co-worker?

35.Has anyone ever had an issue with a county government?

36.Has anyone ever spoken during a public meeting of a county government?

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37.Has anyone ever served in any role in the government?

38.Does anyone have a negative opinion of governmental entities?

39.Has anyone ever taken issue with any decision ever made by the Camden

   County Board of Commissioners?

40.Who believes that their county taxes are too high?

41.Who believes that the county government wastes tax payer money?

42.Does anyone feel that they would have trouble judging the facts of this case

   or being fair and impartial?

43.If the facts show that Plaintiff was not discriminated against, would you

   have any trouble finding for the Defendant?

44.Is there any member of the panel who has even the slightest negative

   feelings about the Defendant, for any reason at all?

45.Has any employer of yours ever failed to accommodate a disability for you

   or any of the people you worked with?

46.Have you, or any member of your family or any close friend needed to take

   FMLA leave?

47.Have you, any member of your family, or close friend ever filed a lawsuit

   against a government agency? What was the nature of the lawsuit?




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   48.Have you or someone close to you ever filed a grievance or made a

      complaint against someone or about something at work? What did it

      involve? What was the outcome?

   49.Has anyone sat on a jury before? What kind of case? Did the jury reach a

      verdict? What was the verdict?

   50.Does anyone have a negative opinion of governmental entities?

   51.This is a civil case, not a criminal case. In a civil case each side may present

      claims or defenses to claims. In a civil case, a party need only prove his/her

      case by a fair preponderance of the believable evidence. What this means is

      that if the scales tip ever so slightly in favor of that party, under the law your

      verdict must be for that party. This is very different from a criminal case, in

      which the prosecution must prove the case beyond a reasonable doubt. Does

      any member of the panel have any difficulty with this concept, or with being

      able to follow the Court’s instructions regarding the burden of proof that

      parties must bear in civil cases?

      Defendant reserves the right to amend or modify this Attachment B-1

up to five days before trial.




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                                   Attachment C

                PLAINTIFF’S PROPOSED VERDICT FORM

      We, the jury in the above-entitled action, give these answers to the following

questions:

   1. Do you find from a preponderance of the evidence that Defendant

      Camden County, failed to accommodate Plaintiff’s disability as

      required by law?

                     Answer Yes or No             _____________



Please move on to question 2.



   2. Do you find from a preponderance of the evidence that Defendant

      Camden County, discriminated against Plaintiff because of his

      disability in violation of the law?

                   Answer Yes or No              _____________



Please move on to question 3.




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   3. Do you find from a preponderance of the evidence that Defendant

      Camden County, retaliated against Plaintiff for opposing disability

      discrimination in violation of the law?

                   Answer Yes or No             _____________



If you have answered “Yes” to question 1, or question 2, or question 3, please

move on to question 4. If you have answered “No” to all three questions above,

please move on to question 5.


   4. Do you find from a preponderance of the evidence that Plaintiff should be

      awarded damages?


                    Answer Yes or No             _____________

                    If your answer is “Yes,”
                    in what amount?          $_____________



Please move on to question 5.



   5. Do you find from a preponderance of the evidence that Defendant

      Camden County, interfered with Plaintiff’s rights to take FMLA leave

      as required by law?
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                       Answer Yes or No         _____________



Please move on to question 6.



   6. Do you find from a preponderance of the evidence that Defendant

      Camden County, retaliated against Plaintiff’s for attempting to

      exercise his rights to take FMLA leave?



                      Answer Yes or No         _____________



If you have answered “Yes” to question 5 or question 6, please move on to

question 7. If you have answered “No” to question 5 and question 6, this ends

your deliberations.


   7. Do you find from a preponderance of the evidence that Plaintiff’s should be

      awarded damages?


                       Answer Yes or No         _____________

                       If your answer is “Yes,”
                       in what amount?          $_____________

      SO SAY WE ALL.
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                                    ___________________________
                                    Foreperson’s Signature
DATE: _____________________




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                                  Attachment C

               DEFENDANT’S PROPOSED VERDICT FORM

      We, the jury in the above-entitled action, give these answers to the following

questions:

   1. Do you find by a preponderance of the evidence that Plaintiff was

      discriminated against because of a disability?

             Answer Yes or No          _____________

             If Yes, please move to #2. If No, please move to #4.

   2. Do you find by a preponderance of the evidence that Defendant

      Camden County, retaliated against Plaintiff?

             Answer Yes or No          _____________

             If Yes, please move to #3. If No, please move to #4.


   3. Do you find from a preponderance of the evidence that Plaintiff should be

      awarded damages under the ADAAA?


             Answer Yes or No          _____________

             If your answer is “Yes,”
             in what amount?          $_____________

             If Yes or No, please move to #4.



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  4. Do you find from a preponderance of the evidence that Defendant

     Camden County, interfered with Plaintiff’s rights to take FMLA

     leave?

                 Answer Yes or No           _____________

                 If Yes or No, please move to #5.

  5. Do you find from a preponderance of the evidence that Defendant

     Camden County, retaliated against Plaintiff’s for taking FMLA leave?

                 Answer Yes or No           _____________

                 If Yes to #4 and/or #5, please move to #6. If No to #4 and #5,
                 you are done.

  6. Do you find from a preponderance of the evidence that Plaintiff’s should be

     awarded damages under the FMLA?


                   Answer Yes or No          _____________

                   If your answer is “Yes,”
                   in what amount?          $_____________

     SO SAY WE ALL.
                                        ___________________________
                                        Foreperson’s Signature
DATE: _____________________




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      RESPECTFULLY SUBMITTED this 18th day of January 2019.


BARRETT & FARAHANY                      HALL BOOTH SMITH, P.C.

s/ Adeash AJ Lakraj                     s/ Charles A. Dorminy
Adeash AJ Lakraj                        Charles A. Dorminy
Georgia Bar No. 444848                  Georgia Bar No. 001315
Attorney for Plaintiff                  s/ William S. Mann__________
1100 Peachtree Street, Suite 500        William S. Mann
Atlanta, GA 30309                       Georgia Bar No. 964223
(404) 214-0120                          Attorney for Defendant
ajlakraj@justiceatwork.com              3528 Darien Highway, Suite 300
                                        Brunswick, Georgia 31525
                                        (912) 554-0093
                                        cdorminy@hallboothsmith.com
                                        wmann@hallboothsmith.com




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